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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re                                                         Chapter 11

    FTX TRADING, LTD., et al.,1                                   Case No. 22-11068 (JTD)

                             Debtors.                             (Jointly Administered)



    VERIFIED FIRST SUPPLEMENTAL STATEMENT OF EVERSHEDS SUTHERLAND
      (US) LLP AND MORRIS, NICHOLS, ARSHT, & TUNNELL LLP PURSUANT TO
                            BANKRUPTCY RULE 2019

            Eversheds Sutherland (US) LLP (“Eversheds”) and Morris, Nichols, Arsht & Tunnell LLP

(“Morris Nichols,” and together with Eversheds, “Counsel”), counsel to the Ad Hoc Committee of

Non-US Customers of FTX.com (the “Ad Hoc Committee”) comprising international customers

(each a “Member” and collectively, the “Members”) who hold accounts on the FTX.com platform,

hereby submit this verified first supplemental statement (the “First Supplemental Statement”)

pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rule 2019”),

and respectfully state as follows:

            1.     On or around December 2, 2022, the initial Members of the Ad Hoc Committee

engaged Eversheds to represent the Ad Hoc Committee in connection with the Chapter 11 Cases

(the “Chapter 11 Cases”) of the above-captioned debtors and debtors in possession (the “Debtors”).

Morris Nichols was engaged by the Ad Hoc Committee effective December 4, 2022.




1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
4063, respectively. Due to the large number of debtor entities in these chapter 11 cases, a complete list of the Debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ proposed claims and noticing agent at
https://cases.ra.kroll.com/FTX.



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        2.       On March 24, 2023, Counsel filed the Verified Statement of Eversheds Sutherland

(US) LLP and Morris, Nichols, Arsht, & Tunnel LLP Pursuant to Bankruptcy Rule 2019 [D.I.

1156] (the “Initial Statement”). Pursuant to Bankruptcy Rule 2019(d), this First Supplemental

Statement supplements the information provided in the Initial Statement. Since the date of the

Initial Statement, certain changes have been made with respect to the following, among others: the

composition of the Ad Hoc Committee resulting from the addition of new Members and the

disclosable economic interests of the Members. 2

        3.       Attached hereto as Exhibit A is a revised list of the names, addresses, and

disclosable economic interests of the Members, as reported to Counsel by each Member as of June

7, 2023, which is intended, as of the date hereof, to replace and supersede Exhibits A-1 through

A-27 attached to the Initial Statement.3

        4.       The information on Exhibit A, which is based on information provided by the

Members to Counsel, is intended only to comply with Bankruptcy Rule 2019 and is not intended

for any other purpose. Moreover, given the Members’ limited access to the FTX.com platform,

the information provided is based on the best available records and is subject to change. Counsel

does not make any representation regarding the validity, amount, allowance, or priority of such

claims and reserves all rights with respect thereto. Counsel does not own, nor has it ever owned,

any claims against or interests in the Debtors, except for the claims for services rendered to the Ad

Hoc Committee.

        5.       Nothing contained in this First Supplemental Statement (or Exhibit A hereto)

should be construed as a limitation upon, or waiver of, any rights of any Member of the Ad Hoc


2
  The disclosable economic interests of the Members may have been updated based on reconciliation with the
Debtors’ and/or Members’ books and records.
3
  There are non-US customers who are onboarding for the Ad Hoc Committee but have not yet become official
Members.


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Committee, its respective affiliates, or any other entity, or an admission with respect to any fact or

legal theory. Nothing herein should be construed as a limitation upon, or waiver of, any rights of

the Ad Hoc Committee or its Members to assert, file, and/or amend any claim or proof of claim

filed in accordance with applicable law and any orders entered in these cases.

         6.    Each Member of the Ad Hoc Committee has consented to Counsel’s representation

of the Ad Hoc Committee. Counsel does not represent any Member of the Ad Hoc Committee in

its individual capacity on issues related to the objective of the Ad Hoc Committee in the Chapter

11 Cases. Each Ad Hoc Committee Member’s participation in the Ad Hoc Committee is solely in

relation to the property interests (or related claims) disclose on the attached Exhibit A.

         7.    As of the date of this First Supplemental Statement, Eversheds and Morris Nichols

represent parties in their individual capacities unrelated to the objective of the Ad Hoc Committee

in the Chapter 11 Cases. In addition, neither the Ad Hoc Committee nor any Member of the Ad

Hoc Committee represents or purports to represent any other entities in connection with these

cases.

         8.    Counsel reserves the right to amend or supplement this First Supplemental

Statement in accordance with the requirements set forth in Bankruptcy Rule 2019.

         9.    The undersigned verify that the foregoing is true and correct to the best of their

knowledge.

Date: June 7, 2023
Wilmington, Delaware                         /s/Matthew B. Harvey
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